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                       UNITED STATES DISTRICT COURT FOR THE U .

                            SOUTHERN DISTRICT OF GEORGIA

                                     WAYCROSS DIVISION


UNITED STATES OF AMERIC A
                                                      CR 505-20

                V.                                    VIO : 21 U.S.C. § 846
                                                             18 U .S.C. § 922(g)(1)
TRISTON JOHNSON, ET AL .




                                    ORDER OF DISMISSAL

        The Court has determined that the above referenced case has not been tried or reached

disposition by the time limits set by Speedy Trial Act, 18 U .S .C. § 3161 et seq. due solely to

oversights by personnel in the district court clerk's office and without any fault by the parties .

Moreover, the defendants have not moved for dismissal due to the failure to meet the 70 day

arraignment-or-appearance-to-trial time limit or raised any claim of prejudice or harm .

       Viewing the totality of the circumstances in light of the constitutional standards announced

inBarker v. Wingo, 407 U. S . 514 (1972) and the statutory factors considered under 18 U .S.C. § 3162

(a)(2), the Court concludes this case should be dismissed without prejudice . Accordingly, it is

Ordered, Adjudged and Decreed by this Court, ex mero motu , that this case is hereby Dismissed

Without Prejudice .
                         ALA
       SO ORDERED this day of May, 2007 at Savannah, Georgia .




                                                      WILLIAM T . MOORE, JR.
                                                      CHIEF JUDGE
                                                      UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF GEORGIA
